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EDVA/SCO Interview of Rob Kelner; June 21, 2018

James P. Gillis (“G”) (AUSA-EDVA);
Robert Kelner (“R”)
Evan Turgeon (“ET”) (NSD) (JMD);
Brandon Van Greck (“BVG”);
Bryan T. Alfredo, (WF) (FBI);
Bruce Baird (“BB”)
Roger Polack

G: Dive right in; tell us .. . drift outside the scope; no hard feelings, let me know. Not trying to
get you.

BB: On page 2.

G: Right, yes, all questions within scope but reasonable minds may differ; if so speak up.

G: what were all the sources of information, including witnesses and docs that reviewed or spoke
to that used to complete the jan 11, 2017 letter and then fara filing itself

R: All is a broad word. will to the best of recollection try to catalog.

Jan 11: at the time to the best of rec sources of factual informaiton were:

   1. had conducted an interview of general flynn
   2. conducted an interview of bijan kian
   3. reviewed documents that had been collected to date; G: by whom? docs had been
      collected passive tense. who collected and from where?
          a. not sure who collected in detail; had a team working on that. had a covington
              team. won’t necessarily be able to reconstruct here now. here’s best of
              recollection: believe there was a set of emails and perhaps accounting records that
              were collected by MF’s son, michael flynn jr. who worked form FIG. know we
              obtained them later, but believe obtained them from MG before jan 11 letter.
          b. In terms of how they were conveyed; some may have been from kristen
              verderame, via MG. who’s counsel was she? She was counsel to FIG and MF
              personally prior to our being engaged in FARA matter.
          c. Possible that either Brian Smith or Alex Langton received documents directly
              from MG at that time, but don’t recall with precision.
          d. Also had some public records such as LDA that had been filed by FIG, which
              were available online.
          e. Had they both been filed at that time? Evan: yes, by Dec 1
          f. Rob continues: may be that at that time had started to collect encrypted emails and
              documents; this is something may ask Brian about. But FIG used something
              called Virtru, FIG had largely shut down ops by this time; were no longer using
              Virtru; created significant challenges in collecting these docs. Had begun an
              effort to collect those; not sure how much progress made by Jan 11. Believe were
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                principally relying on docs MG had collected. Also possible, that had received
                emails from Bijan Kian. Doesn’t recall if was before Jan 11.
           g. To be clear - the collection of emails and documents, something not personally
                involved in, was supervising the team.
           h. ET: Who was involved. R: Brian Smith and Alex Langton.
           i. R: At that time we were primarily interfacing with Kristen, recall that docs may
                have gone through Kristen.
           j. R: At that period and really through the date of FARA filing, some of our
                communications were with Kristen Verderame.
   4. R: In terms of other sources of information that had prior to Jan 11 letter: Did have some
       comms with MG. G: Interviews? R: No, to the best of recollection did not conduct a
       formal interview of MG at that time. But he attended interview of MF; do not recall him
       contributing anything material to the best of recollection; but he was there. Was referring
       that making an effort to collect documents and think that Kristen was interacting with
       MG at that time, possible that AL or BS had communicated directly with MG at that
       time. Before the Jan 11 letter; bulk of focus was collecting docs given the limitations of
       Virtru.
   5. R: Before we move on, because you asked very broad “all” question. Let me think of any
       other sources that I can recall. Certainly spoke a number of times with KV; some part of
       convos would’ve included her sharing factual info that she knew in part based on a
       meeting she conducted based on meeting she conducted with Bijan and MG. Do not have
       a clear recollection of what she conveyed to us about her prior meeting, partly because it
       overlapped with what we were learning anyway.
   6. BVG: Pre Jan 11, in terms of interviews with FIG, was just General Flynn and Bijan, was
       that it?
   7. R: To best of recollection, yes.
   8. G: Mention that . ..
   9. R: I’ll mention that at some point we interviewed Boston, believe was after Jan 11 letter,
       but not certain of that.
   10. G: Ok, so FIG…
   11. R: At some point also believe interview Bob Kelly, and recognition is that interviewed
       same day as Boston, but believe it was after.
   12. G: Mention that FIG had shutdown ops at that time, and because encryption of emails,
       having trouble getting them or getting docs. Was computer system of FIG still in
       existence; had it been wiped; was it still around.
   13. R: Short answer is Brian will know those better than me. All I understood at the time is
       because had shutdown FIG, neither they nor FIG had shut down FIG, did not have ready
       access to Virtru files. Exact tech details, doesn’t recall.
   14. G: Know whether comps or systems still exist?
   15. R: Don’t know for sure whether still exist; leave it at that. To be clear about that,
       anything that we actually gained access to has been preserved by us.
   16. G: Would be correct to presume that if comps existed at time, they would still exist?
   17. R: Give best recollection, but vague and uncertain. Recollection is used cloud-based
       system, that virtru was a cloud-based system. Not sure FIG had FIG-owned devices they
       were using. When talking about Virtru talking about receiving those docs from cloud.



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       For the record, Virtru had counsel, which was Morrison & Forrester; so may be in better
       position than I.
   18. G: Do you have contact info. R: Believe we can track that down; I was not engaging
       with them at that time.
   19. G: Besides Brian and Alex, were there others who had significant role in Covington team,
       others have role in collection?
   20. R: At that time may have had other help from Covington technical staff, but don’t believe
       had other lawyers or paralegals.
   21. G: As an aside, if wanted to interview Alex or IT folks; would that be possible.
   22. B: Not today, but at another time sure. R: not sure had IT folks.
   23. G: Can fill in recollection after interview.

   24. Move onto FARA filing . ..
   25. B: What’s the question?
   26. G: What were all the source of information that Covington used to complete the FARA
       filing?
   27. R: At some point, we interviewed Mike Boston, one of the FIG employees, and
       interviewed Bob Kelly; think it was in interview between letter and filing, but could’ve
       been before filing; interviewed Bijan Kian a second time. Collected additional
       documents through Virtru. Believe collected docs from Mike Boston. At some point, did
       focus interview of MG; believe it was before March 7 filing to best of recollection. I did
       not participate in that interview so less clear. G: Who did? R: Believe the interview was
       conducted by Brian Smith and Steve Anthony. Not certain that it was before March 7
       filing; may have also been later. And if it was after filing, would not have concerned
       gathering information for the filing.
   28. G: Sorry, just to be clear, talking about might be before or after FARA filing. Now
       talking about more formal interview of MG. R: Yes.
   29. R: Spoke with counsel for Ekim Alptekin. G: Who was that? Believe was Matthew
       Nolan @ Arendt Fox Firm. R: Most of conversations were either between Brian Smith
       and Matt Nolan or between KV and Matt Nolan. Also emails to and from Matt
       containing factual information. Some may have been transmitted through KV or may
       have been group email chain.
   30. G: Emails to MN? R: Either emails to or from that we were on. In an effort to collect
       information for FARA?
   31. BVG: Were ever in JDA with Ekim’s lawyer? BB: Beyond scope; BVG: can follow up
       later.
   32. R: Other sources; Spoke with Sphere and Sphere’s counsel; at time counsel was Ben
       Ginsburg at Jones Day. Gracin Yeargin from JD.
   33. ET: When say spoke with Sphere; just counsel or principals?
   34. R: At least one call with each Graham Miller and Jim Court…
   35. R: Other sources of information, had some public records that we had collected. Any
       particular that stand out? R: Not really in the scope.
   36. B: Any particular public records that used in the filing? R: Can’t remember whether any
       ultimately impacted the filing. Brian may have recollection on that.
   37. G: Exhaust recollection? Yes.
   38. BVG? Brian McCauley?

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   39. R: Thank you; believe talked to Brian McCauley before March 7 filing. Either before or
       after filing did interview Brian McCauley. Also informal communications KV had with
       her client. Some information would be filtered through to us via Kristin.
   40. BVG: Tim Newberry and White Canvas group?
   41. R: I don’t recall our interviewing Newberry, but not certain. Brian may remember.
   42. G: So, at anytime were you aware of… you include in your FARA filing the agreement
       between Inovo and FIG, and it doesn’t mention a payback or kickback, any payment from
       FIG back to Alptekin; were you aware of such a payment agreement before the filing?
   43. R: In terms of the factual information that was made available to us, we were provided
       with accounting records that reflected payments from FIG to Inovo. Believe also had in
       our possession the draft contract between FIG and Alptekin. G: This 20 percent back
       agreement?
   44. R: We were aware of the draft agreement to provide payment.
   45. BVG: When say draft is it because was never executed by both parties?
   46. R: That’s right; we did not have an executed copy.
   47. G: Ever ask anyone about that payment?
   48. R: Not sure want to say what we asked. If question is, did anyone give us information
       about that contract, answer is yes. In interview with Bijan, he told us that the payments
       to Inovo were refunds because Alptekin was upset that FIG had not provided PR and
       lobbying services that he had expected to receive. And because he was upset about that
       he wanted his money back and that was genesis of payments to Ekim. WRT consulting
       agreement itself, and trying to stick to what he just said to us -- my best rec is that he did
       not view that contract as having been fully executed and performed under.
   49. BB: What did he say; try to remember what he said.
   50. R: I don’t have a crisp recollection of what he said about contract. What I do recall is
       that he focused on what the payments back were; he strongly viewed those as refunds and
       not consulting fees.
   51. BVG: What did he say about why they were logged into FIGs accounitng records as
       consulting fees?
   52. R: Could not offer explanation. Believe he said he was not the one who kept those
       records or would’ve recorded it that way.
   53. BVG: What did he say around those comms that do not describe them as a refund?
   54. R: My rec is that there were two elements to his response: 1 - he doesn’t always choose
       the right words in emails. 2 - there had been some discussion about using Ekim as a
       consultant, but that it hadn’t come to fruition. didn’t deny that concept of ekim being
       consultant came up; but described it not coming to fruition. said that ekim did not render
       consulting services and that payments were refunds.
   55. G: run that by me again. He talked about these emails with you? He talked about these
       emails with me.
   56. G: He explained those emails as sloppy drafting? R: My best recollection is: BB: One is
       doesn’t choose his words right, and consultant never came to fruition.
   57. BVG: Broaden out question… being aware that there was a lot of email traffic on this.
       What else did Bijan say wrt to these two payment that you can recall?
   58. R: Nothing more than call recall, unless you have something in mind.
   59. BVG: Did he offer an explanation of why the payments of 40k were made so close in
       time to Ekims own payments to FIG.

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   60. R: Do not recall him offering an explanation for that?
   61. BVG: Did he offer an explanation for why these payments were made to Inovo and not to
       Alptekin.
   62. R: Not that I recall.
   63. BVG: Did he offer an explanation of why FIG produced paperwork / document sent back
       explaining that they were for consultant fees.
   64. R:Either did not offer an explanation for it; or he offered an explanation that I’m
       forgetting at the moment, or that we had a reaction to that I will not address as attorney
       work product;
   65. R: In general, in discussing the 40k payments and the contract with Ekim and related
       correspondence, Bijan’s response was to focus on the fact that payments were refunds
       and consulting arrangement never came to fruition.
   66. BFG: Refund was for consulting arrangements not rendered?
   67. R: Refunds were for PR and lobbying that were expected and that FIG did not do.
   68. BVG: What did Bijan, or how did Bijan describe the lobbying work that had been done
       over life of project?
   69. R: He may not have used the word lobbying to describe it. But at some point, he
       described for us, congressional contacts during innovo contract. Including comms with
       stagger named Miles something.
   70. BVG: But did indicate he had contact with Congress or staffers in relation to this
       contract.
   71. R: He described that meeting with Miles Something as principally being about other
       topics unrelated to Turkey and Inovo but during the course of the meeting, made
       reference to Turkey.
   72. BVG: Recall any other mention of bringing up the topic of Turkey with Congressmen or
       staffers? With Rohrbacher?
   73. R: At some point became aware of contacts with Rohrbacher, but as sit here today not
       sure when became aware of that.
   74. G: From Kian became aware of that?
   75. R: Don’t believe I had a convo with Kian about Rohr; believe it came out through review
       of email traffic or in comms with KV. I don’t recall how RB came up or even if it came
       up before or after filing, G: or if it came through Kian. R: I don’t recall
   76. G: So is that more or less your recollection of data for FARA filing.
   77. ET: Recall him mentioning any other Congressional contacts during period of contract.
   78. R: as is sit here today, not as I recall.
   79. G: About draft consulting agreement that I understand you had before FARA filing, did
       he say anything about why they would do it that way, with these two separate agreements
       rather than taking 40k .. . R: No. G: Okay he did not. I’m trying to understand, whether
       basically it just never came up and didn’t offer an explanation; or whether he was asked
       by someone.
   80. G: Was his failure to provide an explanation given in the context of responding to a
       question that was asked? Can he answer that? BB: Sure. R: It came up.
   81. G: On that subject, did it come up in any other discussions with anybody else before the
       FARA filing?
   82. BB: In other words did anyone offer an explanation why it was done that way?



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   83. R: So, MF before the FARA filing, to best of recollection, MF was not able to offer any
       explanation of the $40k payments. Just going from my memory, will leave it at that.
   84. G: WRT why there were two agreements instead of just reducing that payment, did it
       come up with MF before FARA filing? R: It came up. G: And in that context unable to
       provide explanation? R: Correct
   85. BVG: Did Bijan ever indicate that there was a benefit to FIG to describing these as
       consulting fees other than refunds. R: No
   86. Did he ever say there was a benefit to Ekim to describe them as consulting agreement
       versus refund? R: No
   87. R: Have some additional recollections to information he provided on this, when preparing
       the actual FARA filing, my recollection is one of the few objections that Bijan raised,
       was that he objected to the filing that draft showed these as consulting fees and they
       should say refunds. Believe he discussed this with Ekim, and Ekim was upset or would
       be upset if they were described as consulting fees.
   88. BVG: What explanation did Bijan provide for why each payment was reduced from 200
       to 185 185 to X? R: Don’t believe he offered an explanation for that.
   89. BVG: Did he explain why Ekim did not receive a 3rd payment of 40k? R: May have
       come up but if so I don’t recall his answer.
   90. G: As far as… Did subject of draft consulting fee, did why was done that way come up in
       any other discussion or interview that you had?
   91. R: Don’t recall it coming up in any other interviews. I think topic came up only in our
       interviews with Bijan and MF. Strike that. Believe it came up in a discussion with MG,
       and he had very little information about it other than to say that he did keep the
       accounting records. Believe he indicated that he would have been the one to record it.
       He also recalled Bijan instructing him to wire funds to Ekim, but didn’t recall any
       explanations than what was in the email to MG.
   92. BVG: No recollection of the Bijan describing the wires as refunds?
   93. R: He did not recall that; just from time to time Bijan would ask him to wire funds and
       this was one such example.
   94. BVG: Did anyone else that you talked to including MF state or indicate that they were
       aware that there had been PR or lobbying services that had not been performed under the
       contract.
   95. R: Not that I recall.
   96. BVG: Or anything that would indicate why the refund was being given to Ekim?
   97. R: Not that I recall.
   98. G: with regard to emails received that are facts in which you based the letter and filing,
       with regard to emails, assume they were never produced, or maybe shouldn’t assume that.
   99. G: There I’m talking about emails Cov received.
   100.        R: Fair to assume that emails Cov received from FIG employees regarding were
       not produced, but would need to review our productions to state with precision.
   101.        G: In these interviews been discussing, did you personally take notes?
   102.        BB: Think that’s beyond the scope.
   103.        R/G: Defer that issue. Okay, let’s defer.
   104.        G: Just so questions are clear, want to know whether witness took notes, and then
       would also ask whether there was a record like the ones I’m typing and whether the
       witness reviewed those notes.

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   105.        BB: Seems to me can ask what information, but not as how it was recorded or
      how it was recorded. What would really like to know is if there is some way recollection
      could be refreshed?
   106.        G: Yes, sort of that. Also, contemporaneous notes. Also aware that notes
      themselves are work product. Understand none of this applies to docs. Not debating
      whether covered by ACP; might debate whether its work product whether he took notes
      or not. But can table that for another time.
   107.        BB: If end up with something in particular that you need, can talk about that.
   108.        G: I don’t have some profligate interest in receiving all of them. Would want
      them more from the facts that are taken down for that meeting. If the work product
      privilege didn’t apply would be discoverable. But can come back to them.
   109.        G: to the extent you were able in preparing the FARA filing, believe that you had
      all of the emails… I’m stuck… may be mental impression, trying to get at your
      understanding is that you received or did request all of the emails that were available
      from Bijan, Ekim, and MF.
   110.        R: Not sure that would be the case.
   111.        G: All that would be relevant to the FARA filing.
   112.        R: It’s a bit difficult to answer without getting into work product. Let me just say
      that I am not necessarily certain that had every email in existence from the people you
      mentioned.
   113.        G: know that some weren’t because of Virtru issue. but apart from that issue, did
      you try to obtain all of the emails that related in anyway to this project.
   114.        R: I think that starts to get into work product. If the question is what info we
      reciveed, we received emails. I don’t have certainty. Don’t think I can address the steps
      we took, why we took them, without trying to get into work product. Are you trying to
      clarify if we know that something was withhold.
   115.        G: I have to assume being the excellent lawyers you are, collected everything.
   116.        BB: I think we have to defer because there all types of dynamics with your client
      when dealing with this, sometime you think you have everything, sometimes you don’t/
   117.        G: What about with respect to Ekim?
   118.        R: To the best of my knowledge, did not receive Ekim’s emails or text messages.
      what we received was information volunteered by counsel, or answers to questions we
      posed to his counsel. Obviously not a FIG employee so didn’t have the same relationship
      with other FIG employees whose emails we were collecting.
   119.        G: Did you mean to limit it at that you received information from his counsel but
      not documents?
   120.        R: I don’t recall receiving his emails, but recall receiving a letter from his counsel,
      and emails from his counsel responding to questions we received.
   121.        G: Poorly written . . . not Covington after all.
   122.        G: Apart from that letter or emails that came from Ekims lawyers; that’s basically
      what you received from Arent Fox.
   123.        R: yes, with clarification that don’t think received emails from Ekim forwarded
      by his lawyer. Received answers from Ekim’s lawyer, don’t believe that any of them
      were conveying a written response from Ekim.
   124.        G: So you were not communicating directly with Ekim?
   125.        R: We were not.

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   126.       G: So you were posing questions to the lawyer? Yes. Would lawyer say, Ekim
      says?
   127.       R: I don’t recall. Certainly gave us the impression that he had gone back to client
      was giving us the response. Don’t recall if he said “here is what my client said:”
   128.       G: Would you regard those emails as work product Bruce?
   129.       BVG: When talked last week, are there any docs that had been withheld, that
      pursuant to the letter that shouldn’t have been withheld. Based on this discussion or
      based on this letter should have been produced.
   130.       R: We had a follow-up conversation with G until after this discussion, talked
      about redactions. So maybe ID those instances, but come back to it.
   131.       G: I didn’t have a crystal clear convo about what we talked about. Thought
      maybe permissible to ask about what docs there are.
   132.       R: I’m answering some of those.
   133.       BVG: My only point is that we should have a discussion, based on this, what docs
      that we would be interested in and get your position.
   134.       G: In the course of preparing either the letter or FARA, did you review the LDA?
   135.       R: Yes we did review it.
   136.       G: Did you interview anybody discuss with lawyers?
   137.       BB: Sounds outside the scope. It’s the information that was given?
   138.       R: Is it what information was shared with us regarding the LDA filing? G: Yes.
   139.       R: Bijan told us that he had relied upon FIG’s GC Bob Kelly to advise WRT to
      the LDA filing and to prepare the LDA filing. MF told us that he understood from Bijan
      that Bijan had worked with BK on the LDA filing. As to what Bob Kelly told us…
   140.       BB: Was there factual information that he gave that you used?
   141.       R: There was no factual information that he gave us that we used. I can say what
      he addressed. What prompted the LDA filing and what information he included in the
      LDA filing.
   142.       G: If you would say so, what is it that he told you.
   143.       R:

See handwritten notes for this section (Rob was using my computer)

Return to below after handwritten notes

   144.       ET questions: Who reviewed drafts of FARA filing other than counsel?

   145.    R: Bijan, MF, and staff of FARA registration unit, from whom we solicited
      comments.

   146.       ET: Did Kelley review a draft?
   147.       R: I don’t believe threat he did, but can’t be certain/

   148.      ET: Of those people, what comments did any reviewers make to you before it was
      filed.
   149.      R: Don’t recall any comments from MF, believe the draft report was provided to
      MF through KV. Don’t recall any comments from MF.

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   150.       ET: Did KV provide comments of her own?
   151.       R: She did provide feedback.
   152.       ET: What was her feedback?
   153.       R: Would be work product.
   154.       G: Was it written or oral?
   155.       R: There was written and oral feedback. Just for completeness and precision. At
      least for a brief period of time, KV also participated in writing the FARA filing.
   156.       G: Something to noodle about, to the extent the emails come from her, they
      wouldn’t represent what you thought was relevant or not relevant.
   157.       ET: Who from Cov was involved in drafting FARA filing?
   158.       R: Alex Langton, Brian Smith, Rob, depends on what you mean by writing, if
      mean who would’ve provided substantive input, Steve Anthony.
   159.       ET: Who from outside including Kristin was involved in drafting or providing
      substantive input?
   160.       R: Other than Kristen and FARA unit, don’t think anyone outside of Cov, and
      only feedback was from KV and Bijan.
   161.       ET: What feedback than Bijan provide, other than consulting fees to refunds?
   162.       R: Objected to that fact that in some fashion the FIG filing was going to disclose
      Jim Woolsey’s role in the contract; was reference in Inovo contract to former CIA
      director, which people could find out easily was Woolsey.
   163.       ET: What was basis for objection?
   164.       R: Would be upset, didn’t participate other than one phone call and Sep 19
      meeting. Also on short form registration form, there is a reference to kickbacks in the
      official form itself; he objected to that word being on the filing. Don’t know whether it
      was initially on the form as opposed to something we had written.
   165.       ET: did he elaborate why it was objectionable.
   166.       R: Yes, don’t remember in detail, but he misconstrued it as a reference to a
      political contribution he had made, which on the short form we were disclosing; was a
      contribution to then Congressman Zinke, made it look like was a kickback.
   167.       G: Plus also a contribution to Make America Great, which thought was a little
      cheap.
   168.       R: May have been other comments or objections, but those are the ones I
      remember.
      ET: what form were they provided.
   169.       R: By email and at one point I was scheduled to be on a call with him together
      with KV to listen to his objections; can’t clearly remember whether was on that call or
      whether it took place; possible it took place that it happened and was not on it; possible I
      was and don’t remember. Just to be clear Bijan provided answers to various questions by
      email, but here we’re talking about corrections.
   170.       BVG: In answering some of our questions over last two hours, did you segregate
      the email comms from the interview comms?
   171.       R: Did not segregate, but do not remember all of the particulars of the email; if
      there was something relevant from an email I would have included it in my answers
      today.



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   172.        ET: Series of statements from the filing. Questions are going to be about the
      source of the factual information. Representation that the foreign principal was Inovo.
      What was factual source of the information.
   173.        R: Gets into work product, have many sources of information; the decision of how
      to put it, where to put it, how to phrase it, necessarily took into account how to answer
      the question.
   174.        BB: Sources would be everything we talked about.

   175.        ET: The fact that Inovo engaged FIG a private company in Israel, where did you
      get information that an Israeli company was engaged?
   176.        R: Says in the filing itself, letter from Arent Fox.
   177.        BVG: What did Bijan say about the Israeli company’s involvement?
   178.        R: Don’t recall Bijan having any information.
   179.        BVG: Did the conversation come up?
   180.        R: Believe it would have, but don’t remember as I sit here. Believe it would have
      come up but don’t recall.
   181.        BVG: What awareness or knowledge did MF have regarding Inovo - Israel
      company?
   182.        R: Don’t believe he had any knowledge.
   183.        BVG: But it came up?
   184.        R: Don’t believe it came up until it was a topic in the media, after FARA filing.
   185.        BVG: Did anyone other than Arent Fox indicate that Inovo had dealings with
      Israeli company?
   186.        R: Not that I recall.
   187.        BVG: Outside of this letter, did Arent Fox make any other reps regarding Israeli
      company?
   188.        R: Not to me; Brian may have had other convos.

   189.      G: By the way, MF said that his understanding that this project was always about
      Gulen, true from beginning through to the end. In his mind, The Truth and Confidence
      were identical; never changed. Engagement never changed. Remained the same
      throughout. Is that something he relayed to you?
   190.      R: No, as I said earlier when question came up in those emails with Turkish
      government, did not indicate having a memory of those early exchanges. When you
      asked MF this the other day was with the benefit of hindsight.
   191.      G: When you got this letter from Arent Fox, this was on behalf of an Israeli
      company, did you ask MF this question?
   192.      R: As I said, think it as unlikely we did.
   193.      BVG: and no comments or questions regarding the filing about the Israeli
      company?
   194.      R: No comments and questions, but might look at exactly how it’s worded.
      BVG: I appreciate that.

   195.       ET: What information did you receive about weekly update calls, the status of the
      project before March 7.



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   196.       R: Recall MF Saying there had been one or two update convos with Ekim, but he
      did not share very much detail or recall very much detail. Believe that Mike Boston also
      mentioend the weekly calls. Do not recall what he detailed; do have a clear recollection
      of him saying government of Turkey had no role in the project. Do not recall whether the
      weekly convos came up with Bijan.
   197.       ET: Don’t recall asking?
   198.       R: Do not recall asking him about the weekly update calls; don’t want to get into
      too much detail about why we asked certain things and not others.




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 EDVA/SCO Interview of Brian Smith; June 21, 2018

 Brian Smith (“B”):
 Same participants minus Rob Kelner

    1. G: What are all the sources of information, witnesses, statements of witnesses, Bijan, and
       others, that Covington used to complete, first, the letter was sent originally, and the
       ultimately the FARA filing itself.

    2. G: Is this your recollection, if not say so?

    3. G: As Part of letter you interviewed MF, Bijan.

    4. B: You mean me personally or Cov?

    5. G: You

    6. B: Started with me and Rob on Jan 2 and then Alex was added mid-January.

    7. ET: Steve Anthony?

    8. B: Would have been later than filing. no, actually likely Steve would have been involved
       around time of the filing.

    9. G: Who else?

    10. B: Others within Cov on the FARA filing or overall?

    11. G: Scoping - letter and then FARA filing. So with respect to the team that was involved,
        understanding some was done by the team, some done by others. Who was in the team.
        Rob, you, Alex, Steve. Who else?

    12. B: I recall that with respect to gathering information for the FARA filing. Other people
        who would have been involved. Litigation Support. Would’ve been processing the
        emails and other documents. Encrypted issue required a lot of help.

    13. G: ON that subject, did you get outside expertise on that process.

    14. B: Don’t believe so. Had a document vendor, don’t recall when they came on and
        whether that was for the later process when we started getting subpoenas. With respect to
        encryption, don’t recall outside help with encryption issue. Occasionally would consult
        within someone at Covington on questions of law.

    15. G: “From the vendor” Virtru provider?




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   16. B: Yes they had to provide an application that tech people had installed on their
       computer. And there was a switch they had to turn on their end so that the app our LSS
       guys could view the documents.

   17. G: Did they get involved in decrypting specific documents?
   18. B: Don’t recall how the technical connections worked.
   19. ET: Do you recall name of GC at Virtru that worked with.
   20. B: Don’t recall. But believe we were speaking with brothers who were COO and CFO,
       were sons of former Covington partner; maybe Ackerman. Don’t recall speaking with
       their lawyers. Believe we did later, and don’t recall whether that was internal or external.

   21. G: Emails and accounting had from FIG as well?
   22. B: Original Q: did discussion interview with MF and with Bijan, during that time they
       provided a lot of documents from FIG. Those came from either her or primarily MGF.
       As you indicated there were other emails; docs; work product.

   23. G: Besides interviewing MF or Bijan, others that interviewed in preparation for letter
       itself?
   24. B: Don’t believe conducted any other interviews before the filing.
   25. G: Did you talk with Ekim?
   26. B: No, but spoke with his lawyer.
   27. G: From…
   28. B: From Arent Fox.
   29. G: Did he write that?
   30. B: Not sure who wrote that.
   31. ET: Where did you get that document?
   32. B: Don’t remember who sent it to us; know that it came unsolicited, and wasn’t able to
       immediately find it. Memory is that it didn’t come directly from him to us.

   33. G: Did receive directly mainly from MGF, but also directly from MF and Bijan as well as
       from KV?
   34. B: Don’t think that’s right. Believe transmissions of documents to me was primarily by
       Michael G Flynn (MGF) and Kristin Verderame (KV). A lot of stuff from KV was
       coming via MGF.
   35. G: WRT to comms had with Arent Fox, did you understand that some of these were
       questions that had been put to Ekim or represented Ekim’s responses, or were they
       sanitized so that they just came from the lawyer.
   36. B: Don’t understand Q.
   37. G: Did you receive emails from Nolan?
   38. B: Yes
   39. G: Did you transmit back follow up Qs?
   40. B: Trying to answer this in a way consistent with agreement. Recall that got the Arent
       Fox memo; had a number of questions about the memo; arranged a call with Nolan; his
       reps to me in the first call were essentially, he didn’t do any factual investigation, that he
       took the facts as they had been given to him by his client and that was the basis for the
       memo. He said most comms had not been by Nolan himself, but by his contract lawyer.

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   41. G: So took facts given by client; did he get facts from any other source?
   42. B: She had most of the conversations with Ekim.
   43. G: Her name?
   44. B: Don’t know if ever got her name, Sull or Sully.
   45. G: Do you recall whether Nolan himself had direct comms with Ekim?

   46. B: My memory is in the first call didn’t say one way or the other. IN the second, was
       explicit that had spoken with Ekim. There were a total of four calls between me and
       Nolan. And believe that in all of those KV participated and the contract lawyer
       participated in one of them. Believe that in the 2nd, 3rd, and 4th, said that he had spoken
       with Ekim and was relaying.

   47. G: Did you have any kind of JDA with them?
   48. B: No.

   49. G: Understanding was the Bijan’s email had been shutdown, preserved some sort of
       archive and that’s what got from MGF?
   50. B: That’s my understanding.
   51. G: Who conveyed that?
   52. B: Memory is that MGF told me that in the first meeting or over the course of the first
       few days.
   53. G: Is it your understanding that you got all of Bijan’s emails to the extent that it still
       existed?
   54. B: Yes with respect to FIG.
   55. G: Did get the whole archive?
   56. B: For the company?
   57. G: For Bijan
   58. B: Believe we got the entire archive for Bijan’s FIG email.
   59. G: If it were on the archive you would’ve gotten it.
   60. B: Yes. I’m making distinction because after FIG email shutdown we received comms
       from Bijan via personal email.
   61. ET: Did MGF do any culling for Bijan?
   62. B: Not for Bijan, but for MF, Michael described doing searches.
   63. G: How did you get those emails?
   64. B: Via electronic upload.
   65. G: How about culled MF emails?
   66. B: Culled emails most clear in mind where ones provided in hard copy. I don’t recall
       what additional materials we received, would have been after Alex came on and she was
       working more on doc collection. Must have happened. Hard to separate between
       collections done before and after FARA filings.

   67. G: Do you know whether the Virtru encryption software prevented you from preventing
       certain emails and docs, or with their help were you able to de-encrypt everything
       interested in?
   68. B: Definitely some that couldn’t
   69. G: Why was that.

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   70. B: At some point in the future Virtru stopped cooperating with us. Not around the time
       of the filing. The way it was explained to me is that if you’re an owner of an email their
       system enables you to see, but if not, it doesn’t. Suppose you had the authorization and
       the capability to de-encrypt Bijan’s email, that would not enable you to de-encrypt
       someone else’s email.

   71. G: did you understand that KV had done her own interviews of MF and Bijan.
   72. B: Never described it that way, when we met on the first day, believe it was 2 jan./ Clear
       she had already spoken to Bijan and she conveyed some of the factual information he had
       given to her.
   73. G: Did you come aware later that she interviewed MF as well?
   74. B: Never explained it that way.
   75. G: did she talk to them in order to get a sense of the facts?
   76. B: Absolutely

   77. G: Do you recall interviewing Michael Boston?
   78. B:I did not.
   79. G: Do you recall whether he was interviewed?
   80. B: Believe it was Alex and Rob, but I was not there.
   81. G: Covington interviewed Bob Kelley.
   82. B: I did not.
   83. G: Do you know whether he was interviewed and by whom, anytime before the FARA
       filing.
   84. B: I know that Covington team members met with him or spoke with him on the phone.
       Was not part of those discussions and there was at least a couple that I recall.
   85. G: You weren’t a party to either on of those

   86. G: Bijan was interviewed more than once in connection with FARA filing?
   87. B: Believe he was interviewed a second time at least, but I wasn’t a part of that.
   88. G: Do you recall whether you or anyone from Covington had comms with Sphere, its
       employees or counsel.
   89. B: Save the last part no, but had extensive convos with their counsel.
   90. G: From Jones Day?
   91. B:Yes
   92. G: Jason Yergin and Ben Ginsburg
   93. B: Yes, I spoke with Gracin and think I was on a call with Ben and believe Rob had calls
       with them.
   94. G: And they rep’d Sphere?
   95. B: A few different entities, but yes.
   96. G: Did you speak with Jim Court or Graham Miller?
   97. B: I did not
   98. G: Did Covington speak with them ICW FARA filing?
   99. B: I had extensive talks with Gracin and he said he went back to Jim for facts.
   100.        G: Brian McCauley?
   101.        B: I did, but 99 percent sure that was after the filing.
   102.        G: Tim Newberry?

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   103.       B: I did not
   104.       G: Did anyone at Covington?
   105.       B: I did, but not to my knowledge. Possible that Kristen did.

   106.        G: Were you at the time of the FARA filing, or up until the point of the FARA
      filing, did you see or did you hear of an agreement between Ekim and FIG ICW which
      FIG was going to be paying Ekim; i.e., payment going in the other direction. Let’s call it
      the consulting agreement. Tell us up to the point of FARA filing, what you know about
      circumstances of that, what happened with it, was it acted upon, finalized.
   107.        B: Recall that we were aware of the “consulting agreement.” Can’t say for sure it
      was 2 Jan, but by the time we interviewed Bijan on Jan 5. Recall that it was a topic of
      discussion with Bijan.
   108.        G: Who brought it up and how did it come up?
   109.        BB: Beyond scope.
   110.        G: Besides Bijan, anyone else that described the “consulting agreement”?
   111.        B: Don’t recall whether the agreement per se was discussed in the 2 Jan meeting.
      Do recall that we discussed the flow of funds, for lack of a better term.
   112.        G: How did you become aware of the flow of funds?
   113.        B: Believe the factual details about the payments in both direction came from KV
      in the 2 January meeting. May have been in materials gathered that MGF gathered.
   114.        G: Accounting records?
   115.        B: My memory is that we didn’t receive the accounting records until later, but
      believe that at 2 January some of that data was discussed. Recalls those coming in
      electronically.
   116.        G: Who was at 2 Jan meeting?
   117.        B: Me, Rob, KV, MF, and MGF
   118.        G: Mentioned that Bijan had talked about this agreement. Was he there?
   119.        B: No, he wasn’t there.
   120.        G: so to the best of your recollection, that information was provided by KV or
      MGF.
   121.        B: Right.
   122.        G: What were you told about the consulting agreement on 2 January?
   123.        B: Do not recall anything about the consulting agreement on 2 January.
   124.        G: But there was a discussion of flow of funds. Was there a conversation of why
      the back and forth payment, instead of lesser amount.
   125.        B: There was not.
   126.        G: Why smiling
   127.        B: A lot of mental impressions
   128.        ET: About that particular meeting, who described the flow of funds at that
      meeting?
   129.        B: My memory is that, KV outlined the factual information, may have come from
      paper, or MGF.
   130.        ET: How was flow of funds described to you?
   131.        B: Think there was a payment going to FIG, another payment going from FIG,
      another payment going to FIG and another payment from FIG, and then a lesser amount
      to FIG as if a payment would have gone from FIG.

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   132.      B: In January 5 from interview from Bijan, he said payment back was from a
      refund; for performances not performed. And that the agreement you had mentioned
      before was wholly separate and believe he said not executed. And structure of the
      agreement was to be tasked by task order, none of which had happed.
   133.      G: Do you recall receiving at some point the draft agreement?
   134.      B: Yes, again not sure if got it on Jan 2, but memory is that we had it on Jan 5.
   135.      G: and it was a refund for not doing PR and lobbying work?
   136.      B: That’s how Bijan described it, yes.
   137.      G: did the subject of the similarities between the two contracts come up at all?
   138.      B: Bijan said they were separate.

   139.      BVG: Did Bijan explain why the monthly payments declined each month?
   140.      B: No
   141.      BVG: Did he explain why not a $40k payment in the third month?
   142.      B: Don’t recall.
   143.      BVG: There’s an email that Cov produced in which he says that it is necessary for
      an audit trail. Do you recall?
   144.      B: Yes, He said that, and on Jan 5, that it was necessary because had not amended
      the contract
   145.      G: Which contract.
   146.      B: The main contract. They were refunds for services not performed and because
      thye had not amended the contract, that’s what the email referenced.
   147.      G: In that context was he performing according to the consultant agreement?
   148.      BVG: First time he documents services rendered, says we need it for an audit
      trail.
   149.      G: Held me understand how that makes sense?
   150.      B: I can only tell you what he said.
   151.      G: He said because necessary because the contract hadn’t been amended? To say
      what?
   152.      B: To reflect the fact that there was no lobbying and no PR conducted.
   153.      G: He didn’t offer any other explanation for that audit trail?
   154.      B: I don’t recall anything else.
   155.      BVG: The Sep 8 contract, indicates the agreement is back dated to Aug 15. Did
      Bijan explain why backdated to Aug 15?
   156.      B: No. He indicated that the work had begun around late July.
   157.      BVG: Did he describe what work was performed in July and August.
   158.      B: Yes, he said it was assembling the team that was going to work on the project.
   159.      BVG: Anything else?
   160.      B: That’s what he said they focused on it that time period.

   161.      G: You were telling me what more you learned about consulting agreement. Did
      you speak with anyone else about the agreement and the purpose for it.
   162.      B: Two additional pieces of information. The complete accounting record and the
      payments appear on there. There was also backup banking/wire instructions, and then in



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      late January/ early February, one of convos with Nolan, he represented his client’s view
      that these were refunds.
   163.       G: Did you discuss with him this separate consulting agreement?
   164.       B: I don’t recall that. Might be able to look at notes; don’t recall if we talked
      about contract itself.
   165.       G: And in the accounting records it says that, I believe, it shows it as consulting
      fees and not as refunds.
   166.       B: I believe that’s correct.
   167.       G: did you or covington discuss that with anyone. Entries as consulting fees.
   168.       BB: Did anyone tell you about them you mean?
   169.       B: I believe we discussed them all. Again, with Bijan, but that was by email, that
      was near the end of the process when he was reviewing the near final draft of the FARA
      agreement,

   170.        G: What did he say about the payments ICW the FARA filing?
   171.        B; He continued to say that they were refunds and connecting them with a
      consulting agreement was inaccurate. Believe that email came through Kristin.
   172.        G: Was any information about that consulting agreement or the payment or
      refunds, was that anything you received from MF?
   173.        B: Only information I recall receiving from MF about the consulting agreement
      relates to his signature on it and some emails from Bijan asking him to sign it. He
      either… I’m not 100 percent sure.. well, he did not say to me, I recall facts about signing
      it.
   174.        G: Did MF say anything about how the payments were characterized? Whether it
      was a refund?
   175.        B: Not that I recall.
   176.        G: did he say whether knew about them?
   177.        B: Don’t recall him saying one way or the other. Other than general statement that
      he was very busy with campaign and left a lot of the details with Bijan.
   178.        G: Did Bijan say anything about how they were characterized about how they
      were characterized in the accounting records?
   179.        B: He did not say anything about how they were characterized in accounting
      records, but he did maintain that they were refunds.
   180.        G: Do you know who put them into the accounting system?
   181.        B: No.
   182.        G: Did MGF say anything about these payments more generally?
   183.        B: Purpose? How made?
   184.        G: did he know about them?
      B: Yes
   185.        G: so what did he convey he knew about them?
   186.        B: Here’s the email from Bijan telling me to make the wire payment so I did it.
   187.        G: and that was pretty much it?
   188.        B: Yeah
   189.        BVG: What did Bijan say about the emails that exist that Ekim was going to
      receive a flat 20 percent fee of any contract that was signed?



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   190.       B: I don’t recall him saying anything about that, but don’t recall that coming up
      on Jan 5.
   191.       BVG: Do you recall the 20 percent email?
   192.       B: Hazily. It’s not a new fact to me, but don’t recall much about factual reps
      related to that.
   193.       BVG: Did Bijan explain why the 40 k payments were made to Inovo and not
      Ekim?
   194.       B: No
   195.       BVG: Did it come up?
   196.       B; Not with Bijan
   197.       BVG: Did it come up with anyone?
   198.       B: The only facts I recall about that question came from Ekim’s lawyer from KV?
   199.       BVG: what did ekim’s lawyer?
   200.       B: essentially nothing
   201.       BVG: What did he say?
   202.       B: Without getting into question asked, Nolan didn’t say much.
   203.       BVG: What about proximity in response to 40k payments and payments to FIG?
   204.       B: Nothing
   205.       BVG: Was topic raised?
   206.       B: There was no explanation given.

   207.       ET: Did you get any documents from Arent Fox besides letter?
   208.       B: Don’t believe that we did.

   209.       G: Did you discuss the LDA filing with Bijan?
   210.       B: Yes
   211.       G: what do you recall him saying about that? Why it was done that way? Advice
      he got, anything like that?
   212.       B: Recall him, in discussion on 5 Jan, recall him saying that had been suggested
      to him by Sphere, believe he said Jim C., that he get some advice on this question.
   213.       BVG: What question?
   214.       B: Don’t know that specified; may have said LDA, may have said FARA. And
      then he called Rob. Or maybe he first called Bob Lindhart. Bob is another partner; first
      call may have come to Bob, all relayed to me. Came up in Jan 5 conversation. He said
      that Rob had referred him to some other lawyers and that he had not retained another
      firm. Had talked to Bob Kelley, believe he described him as GC to the project.
   215.       BVG: in terms of statement you just made, you recall him saying that. GC to the
      project and not FIG?
   216.       B: I do recall that.
   217.       G: Project being the work for Inovo.
   218.       B: That’s how I understood it. Probably shouldn’t say that. He said he talked to
      Bob, Bob asked him some questions, and said if not a foreign gov or political party can
      register under LDA. And that Bijan felt they were registering under LDA under an
      abundance of caution.
   219.       G: In what way under an abundance of caution?



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   220.       B; On Jan 5, believe he made reference to what talking about before, not going to
      do lobbying work going to do PR. So why register under LDA if going to do PR.
      Believe he said we wanted to be able to talk to Congress so filed under LDA.
   221.       G: So putting those facts together, is it your recollection that at time of LDA, the
      previously contemplated lobbying and PR work was not going to be done?
   222.       B: Did not get into that.
   223.       G: But Bijan said to you b/c not going to be doing any PR work did not have to
      file.
   224.       B: No more how I laid out. Bob Kelley said don’t have to register b/c not a
      foreign government political party, not going to lobby, want to be able to talk to people
      on the hill; going to register out of abundance of caution
   225.       G: You recall that he made a distinction between lobbying on behalf of Inovo and
      talking to people in Congress?
   226.       B: Don’t know he made that distinction.
   227.       G: Ok. Wanted to say that was going to be talking to people in Congress and even
      though not going to be lobbying, did it out of abundance of caution.
   228.       B: That’s fair.
   229.       G: At time he discussed refund, did he say they weren’t planning on doing
      lobbying?
   230.       B: That did not come up.
   231.       G: Were you involved in obtaining, prep, or review of the declaration of Bob
      Kelley?
   232.       B: I was not directly involved. I have seen it.
   233.       G: Do you know who obtained it?
   234.       B: Do not know the investigators name.
   235.       G: But it was an investigator?
   236.       B: Yes.
   237.       G: Do you know who did?
   238.       B: It was Steven Anthony who ran point.
   239.       ET: Did you have any factual feedback on draft declaration?
   240.       B: No
   241.       ET: Are you aware of any factual feedback Covington received on declaration?
   242.       B: Other than from Mr. Kelley, no.


   243.       G: Did you say you never spoke with Kelley directly?
   244.       B: I don’t believe I spoke with him.

   245.     G: Were you aware of a meeting that took place, maybe dinner, that took place in
      September and Turkish; before the filing were you aware of that/
   246.     B: yes MF and Bijan described it to me.

   247.      G: What did MF tell you about it.
   248.      B: MF described a meeting to which he and others were invited set up by Ekim.
      And actually did hear about this also by Matt Nolan. So MF described it as meeting set
      up by Ekim, took place in NY, very late at night, very short. Had difficulty arranging it

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      based on schedules around UNGA times. It was with him, Bijan, Ekim, Woolsey, a
      couple Turkish officials, and some other accompaniment people hanging around. He
      described it as short. Said that the primary topic was radical Islam and shared efforts to
      fight radical Islam. Briefly described what FIG was doing for Ekim.
   249.        G: To whom?
   250.        B: to the Turkish officials.
   251.        G: So this is in the context of you preparing a response to the FARA inquiry.
   252.        B: This was the Jan 2 meeting.
   253.        G: Question of which, would be whether there was direction or control of foreign
      official?
   254.        G: Did it come up of whether there was direction, approval, requests, anything
      like that, by any of these Turkish officials.
   255.        B: MF did not say that.
   256.        G: Well did it come up.
   257.        B: I don’t recall that coming up.
   258.        G: Don’t recall it coming up in the context of discussing whether there was
      direction or control of whether to file under FARA?
   259.        B: What I recall him describing is what affirmatively transpired in the context of
      the meeting. I recall him saying that is what had transpired.
   260.        G: That is that it was very late, very short, Bijan, woolsey, other officials there,
      main topic was CT, but also briefly described work being done for inovo.
   261.        BVG: How did he describe work being done from Inovo?
   262.        B: Didn’t describe
   263.        G: Recall MF describing anything else at meeting?
   264.        B: Have a memory of it being described as a meet and greet. The only other thing
      I recall MF saying is that Turkish officials had brought up the topic of Gulen.
   265.        G: What about Gulen?
   266.        B: Don’t recall anything other than that; that they had brought up the topic.

   267.       G: exhausted what MF told you about the meeting with Turkish ministers?
   268.       G: Did MF say anything to you about contacts FIG had with Turkish officials
      other than this?
   269.       B: Yes, there were others who said this.
   270.       G: Bijan told you there were no other contacts with Turkish officials?
   271.       B: Yes, believe this was said in the 5 Jan meeting.
   272.       BVG: Did Bijan or MF ever indicate that was being directed by gov of turkey?
   273.       B: No
   274.       BVG: Did ever indicate was for the benefit?
   275.       B: No
   276.       BVG: Ever indicate received feedback?
   277.       B: No, but recalling there contact with a Turkish official ICW the inauguration.
   278.       BVG: but was anything to do with Inovo?
   279.       B: No
   280.       BVG: Did ekim or Nolan ever indicate that was for the benefit, directed or receive
      feedback.



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   281.       B: No to all. there is a note in the FARA filing that we were aware of convos
      between Ekim and gov of turkey.
   282.       BVG: how did nolan describe Turkey government officials?
   283.       B: Nolan was adamant that Gov of Turkey not involved. Got no money from
      government, not involved. Adamant.
   284.       G: Had conversations with MF, Bijan, and Matt Nolan. Can you tell me what
      Bijan tell you about the meeting with Turkish ministers?
   285.       B: He had, for the set up, very similar to MF: late at night, hard to organize.
      Woolsey. McCauley he said that meeting was wholly separate, had nothing to do with
      confidence, Was an opportunity for turkish officials to meet MF and vice versa, to
      discuss the mutual fight against radical islam. Remember the comms being one way,
      Turkish officials were describing and giving information with MF asking questions. He
      specifically said not in the nature of an update about Confidence.
   286.       G: Were you familiar with something that was referred to as the truth campaign.
   287.       B: Yes.
   288.       G: did you discuss it with Bijan?
   289.       B: In the Jan 5 interview, Bijan in response to some of the documentation
      described that that was a separate endeavor that there was discusison about FIG working
      for the Turkish government on what he called Truth, and that nothing came of it.
   290.       G: Did he say what the work was that would be for the Turkish government?
   291.       B: think he described it as fighting radical islam.
   292.       G: In what way was FIG going to be fighting radical islam?
   293.       B: don’t know.
   294.       ET: Did he describe that in reference to Gulen?
   295.       B: Believe he made reference to Gulen but was in contract to Confidence project.
   296.       G: Did he say that the Truth project and the Confidence Project were completely
      separate matters?
   297.       B: correct
   298.       G: Were you aware of emails that were close to one another about the Truth
      campaign and confidence thing. Did he try to explain those; fail to explain those; did it
      come up?
   299.       B: Recall him saying they were separate. Recall him acknowledging the
      contemporaneousness of it.
   300.       G: Brought to his attention
   301.       G: Acknowledged it?
   302.       B: He stated that there was no connection.

   303.      G: Summarizes B’s statements on meeting. Also talked with Nolan. What did
      Nolan tell you about the meeting? Am I right that Nolan was communicating to you was
      coming from Ekim?
   304.      B: Said there were four calls; in the second, third, and fourth, began with talked to
      my client and here is the information.
   305.      G: What did he tell you.
   306.      B: trying to disaggregate things. Believe it was relatively later in convos with
      Nolan where he was responding to things. His description of that meeting recall being



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      focused on FARA. And that the way he expressed Ekim’s view was just bringing
      together two principles, wasn’t working for anyone.
   307.        G: Focus of meeting was on FARA?
   308.        B: no meeting was in terms of FARA. Did this meeting trigger FARA. He
      expressed Ekim’s view that meeting was about bringing together two principals, that
      there wasn’t anyone acting as an agent. Continued to express his view and Ekim’s view
      that these acitvities did not warrant a FARA filing. Look at that memo. Ratio, etc.
      Getting further into the factual details, talking about Sep 19 meeting, still doesn’t trigger
      FARA.
   309.        G: Because?
   310.        B: That this was a meeting bringing together principals; that there wasn’t an agent
   311.        G: What facts did he relay to you if any that it was a meeting of principals?
   312.        B: I am not sure that what I’m about to say came contemporaneous with that. but
      did discuss with Nolan that maybe the Turkish government could hire FIG. Not sure that
      those two paragraphs were right next to each other. Ekim thought maybe FIG could work
      for Turkey at some point so getting them to work together might be useful.
   313.        G: Did he describe actually what took place, who was there, what was discussed?
   314.        B: Believe he expressed most definitively which gov officials were there. There
      was perhaps some ambiguity about which of the ministers were there.
   315.        G: so who from Turkey was there?
      B: Presumably something ekim would’ve had knowledge of.
   316.        G: Who was it then that said Nolan was there?
   317.        B: Pretty sure what was in the filing. MFA, Energy, Economy, whatever is in the
      filing is most consistent with what is in the filing.
   318.        G: Did MF ever mention anything about contacts he had about inauguration?
      BTW - what were the inauguration contacts about
   319.        B: I don’t recall
   320.        G: Were you aware at the time of the FARA filing of any comms between MF
      and any Turkish officials or other folks from Turkey?
   321.        B: Not sure how to interpret that.
   322.        G: DO you recall any emails prior to the FARA filings about communications that
      MF had with anyone from Turkey other than people at the September meeting?
   323.        B: Any other contacts meeting with Turkish gov officials --
   324.        G: Not just gov officials.
   325.        B: not sure can answer the question. Aware of comms with people who on its
      face may be Turkish.
   326.        G: But no express mention of Turkey or anything of the sort.
   327.        B: Recall some emails of people with Turkish names.
   328.        G: Shows Enver Bey and Burgrahan.
   329.        B: Yes, these are examples of people that I saw.
   330.        G: Mentioning Turkey is how I would put it.
   331.        G: Shows EDVA 821 (2/21) B remembers this one, 8741 (President Erdogan’s
      visit to US - March 16, 10:43 am Osman to MF does recall this), 0000874 March 30
      2016, 10:34 am Flynn to Osman - doesn’t recall this)
   332.        G: did those emails come up in your convos with Bijan or Nolan or KV; anyone
      aside from MF?

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   333.       B: Only conversations recall about these emails were internal.
   334.       G: Apart from MF, don’t recall anything about these emails that were not internal.

   335.       ET: As far as lobbying goes, what information did you receive from Bijan about
      lobbying activities that he or Bijan had engaged in?
   336.       B: in interview of Jan 5 talked generally about activities; reacted to some of the
      docs that talked about the activities. Much later on, there were a number of interactions
      by email and primarily through Kristen in which he confirmed particular facts or relayed
      particular facts that ended up reflected in the FARA filing.
   337.       ET: What did he say about lobbying activities?
   338.       B: He confirmed things about dates, location, etc.
   339.       ET: to the best of your recollection who were there contacts?
   340.       B: the ones id’d in the FARA filing. Two meeting with Homeland security staffer
      = one at FIG and one on Hill. Also contacts at Sphere. Factually conveyed to us by
      Sphere’s counsel. Those were media contacts and State contacts.
   341.       ET: Did he convey information about Rohrbacher or otherwise having contacts
      about Rohrbacher.
   342.       B: I remember that topic. Don’t recall specific representations on the facts. Do
      not recall.
   343.       ET: what about convos, did MF tell you about any lobbying activity FIG had been
      engaged with and if so with whom?
   344.       B: He conveyed that the meetings had been done by Bijan.
   345.       ET: did he say with whom Bijan had contact?
   346.       B: Not that I recall.
   347.       ET: What about Ekim; did Nolan convey any information about lobbying activity
      that his client had been invovled in.
   348.       B: Not that I recall in the sense that I don’t believe he did.

   349.      ET: Funding for the project. What did Bijan tell you about how the project was
      funded?
   350.      B: Not much. Said knew that Ekim was a person of means. Successful
      businessman. Think that is it.
   351.      ET: Was that in the context of Ekim funding the project?
   352.      B: With respect to Inovo versus Ekim, recall him saying Ekim is Inovo and Inovo
      and Ekim.
   353.      ET: Did he mention, or make clear where the money for the project was coming
      from other than Ekim is wealthy?
   354.      B: No.
   355.      ET: What about MF. How did he describe the funding sources?
      B: Don’t recall him saying anything about the funding.
   356.      ET: Do you recall that arising in conversation?
   357.      B: I recall it coming up in the sense of money flows. And I don’t recall MF
      saying anything about source of funds.
   358.      ET: Other than the memo you received from Nolan or other places this might be
      memorialized; any other convos with nolan about source of funding.



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   359.        B: Believe came up in two of our calls. In the first of that conversation, he
      conveyed details about the ratio; they were an owner in Leviathan and that they had this
      arrangement with Ekim.
   360.        ET: What arrangement with Ekim?
   361.        B: Nolan described it as a private arrangement between Ekim and Ratio and that
      was the reason it hadn’t been previously discussed with FIG. Described their interest, but
      can’t remember how he described their interest -- Leviathan Project and interest in
      Turkey or words to that effect. There were some things he could not represent so we had
      a later conversation in which he had seen the Ratio contract, that he would not provide a
      contract, wouldn’t cover the amount that it costs, but it was more than enough to cover
      the portion that was the FIG contract.
   362.        G: Was he saying that Ratio money was paying for FIG Contract?
   363.        B: He did not say that explicitly, but that it was more than enough to cover the
      FIG arrangement.
   364.        BVG: Nolan acknowledged that Ekim had not brought up Ratio to Bijan and
      Bijan also said he had not heard of the Ratio angle.
   365.        B: That’s right. Bijan said he didn’t know about Ratio until the press reports.
   366.        ET: When Nolan said he needed to get back to you, was because didn’t know or
      needed permission.
   367.        B: Didn’t know


   368.        ET: What did Bijan tell you about the origin of the op-ed.
   369.        B: Said it was MF’s idea. Said talked frequently with MF about these types of
      activities. Bijan mentioned another op-ed with Woolsey. Had a flavorful title that stood
      out but escapes me now. That Bijan had worked with an editor, Hank Cox, to write the
      op-ed, or edit the op-ed. He expressed that it was not related to the project.
   370.        ET: Did Bijan say who wrote the first draft?
   371.        B: Do not believe he said who wrote first draft, though don’t believe it came up.
      Recall MF saying that MF had sketched out the ideas, did not say whether on paper or
      orally, but Bijan did the first draft.
   372.        ET: Recall MF describing any other things around origin op-ed?
   373.        B: Described radical islam as something he has had an interest in. Described the
      working title: friend in need is a friend indeed. Described the op-ed in the geopolitical
      sense and why it was important --- that we were losing interest in Turkey and it was
      important to counteract. He expressed that the genesis of the op-ed, while not, under the
      project, had a connection to the project in the work they had been doing an assessment on
      Gulen, had caused him to think more about these issues. So the fact that he was working
      on the topic, had led him to pursue this.
   374.        ET: Did you receive any information from Nolan about op-ed before the FARA
      filing?
   375.        B: In the memo, he says something to the effect of “came to know about” or
      “didn’t have a role in”; recall in a later conversation acknowledging what we had seen in
      the documentation of Ekim getting a draft.
   376.        ET: What did he say about that?
   377.        B: Think that acknowledging is the best description can give.

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   378.       ET: Did he offer explanation?
   379.       B: Not that I can recall.

   380.      ET: Who other than attorneys at Cov reviewed draft of FARA filing?
   381.      B: Bijan through Kristen, MF, four or five people from FARA office. Counsel to
      Sphere reviewed the draft. Does not have the draft.
   382.      ET: What about Matthew Nolan?
   383.      B: Not from me.

   384.        ET: What factual comments did Bijan provide to the draft?
   385.        B: A handful. two sets of comments that precede the actual draft. Payment to an
      intern that was not related to project and didn’t need to included; series of facts for short
      form; recall those being before actual full draft. On the full draft, several comments; first
      one reference to a business conference -- clarified that didn’t attend it. That fact had
      come from some documentation that was forard looking. He clarified it didn’t happen.
      Already talked about characterizaiton of consulting payments. Provided in a couple of
      iteratations clarifying which members of congress, what dates, things like that. And then
      on the short form he objected to language that’s in a FN of the form itself; clarified for
      him it was the form and not something had put there.
   386.        ET: On kickbacks?
   387.        B: He said it was something to that: I object to my political contributions being
      characterized as kickbacks. Ekim’s nationality -- one of the drafts referenced Ekim’s
      nationality and Bijan corrected that.
   388.        ET: What was correction.
   389.        B: Was not a dual citizen, I think. Not recalling anything more.
   390.        ET: Recall comments and clarifications that MF offered?
   391.        B: Does not recall any edits, corrections from MF.
   392.        ET: What about from Sphere’s counsel.
   393.        B: Yes, they were more minute and numerous. They specifically related to
      making sure that we and they had the best representation of the meetings and who was at
      what meetings, when were they, that sort of thing. Also offered some edits around, a
      phrase “at Inovo’s request” pointed out that there wasn’t a factual basis for that.
      Suggested an edit for Gulenopoly which we didn’t take. Certain that there was more.
      Also had an edit about how to reference Sphere versus SGR.

   394.       ET: Any questions about factual information that haven’t asked about?
   395.       G: Going to send a letter about where going think about.




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